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                 IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

  KRISTOPHER JOLLY, et al.,
  Plaintiffs,
  vs.                                          CASE NO.: 3:20:cv-1150-MMH-MCR
  HOEGH AUTOLINERS
  SHIPPING AS; et al.
  Defendants.


    PLAINTIFFS’ UNOPPOSED MOTION TO AMEND CASE CAPTION

        The Plaintiffs in this case respectfully request that this Court enter an

  order amending the caption of this case to reflect the current parties. More

  specifically, in light of the dismissals with prejudice of Horizon Terminal

  Services, LLC; Grimaldi Deep Sea S.P.A.; SSA Atlantic, LLC; and Hoegh

  Autoliners, Inc., Plaintiffs request that the case caption reflect only the

  remaining Defendants, Hoegh Autoliners Shipping AS and Hoegh Autoliners

  Management AS.

                      LOCAL RULE 3.01(g) CERTIFICATION

        Plaintiffs’ counsel, Tom Slater, certifies that he has conferred with counsel for

  the opposing parties, and is authorized to represent that Defendants Hoegh

  Autoliners Shipping AS and Hoegh Autoliners Management AS have no objection

  to the relief requested herein.
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                                         Respectfully submitted,

                                         PAJCIC & PAJCIC, P.A.

                                         /s/ Thomas F. Slater
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                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 31, 2024, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which will

  send a notice of filing to all counsel of record.

                                         PAJCIC & PAJCIC, P.A.

                                         /s/ Thomas F. Slater
                                         _____________________________
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